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lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,

Plaintiffs,

vs_ Civil Action No. l:l7-cv-00365-LY
GRANDE COMMUNICATIONS
NETWORKS LLC and PATRIOT
MEDIA CONSULTING, LLC,

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Defendants.

REPLY IN SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL DISCOVERY FROM
GRANDE COMMUNICATIONS NETWORKS LLC AND
PATRIOT MEDIA CONSULTING. LLC

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INTRODUCTION

Grande and Patriot’s opposition [Dkt. l 19] confirms that the companies continue to resist
providing information on key facts but have no justification for their stonewalling. Grande (once
again) promises that certain documents and testimony are forthcoming; Plaintiffs reserve the right
to pursue that information if it is not produced promptly. Grande refuses to provide other
information, and Patriot refuses to present its witnesses to be deposed, both without any valid
basis. The Court should compel the responses and depositions discussed below.

ARGUMENT
I. GRANDE STlLL OwEs COMPLETE AND TRUTHFUL ANSWERS ABouT ITs CURRENT
AND PAsT PoLlClEs REGARD|NG INFR\NGEMENT (INTERROGATOR|ES 6, 14 AND 25;
30(B)(6) TOPICS 7, 25-28, 37-38, 45).

Plaintiffs are entitled to 30(b)(6) testimony explaining the provenance of Grande’s
false answer to Interrogatory 6. Grande has served a new interrogatory response to Interrogatory
6, with dramatically different information about Grande’s current supposed DMCA policy
compared to its prior answer, which its 30(b)(6) witness testified was false, See Opp. Ex. l at 7-
10 [Dkt. 119-2] (flled under seal by Grande). But Grande’s witness refused to explain how the
prior, false, answer came to be, and Grande in its brief continues to resist providing Plaintiffs
discovery about the provenance of its prior answer. Grande appears to assert that such information
is privileged Opp. at 3. But it is beyond dispute that “[t]he privilege only protects disclosure of
communications; it does not protect disclosure of the underlying facts by those who communicated
with the attorney.” Upjohn Co. v. Um'led Stales, 449 U.S. 383, 395 (1981). Plaintiffs are entitled
to depose Grande’s corporate witness on the factual circumstances of Grande’s prior false
statement For example, was the inaccurate description of its policy what some employees at the

company thought the policy actually was, should be, or was going to be in the future? The answers

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to those questions are probative of Grande’s supposed invocation of the DMCA safe harbor, as
well as the Willfulness of Grande’s conduct.

Plaintiffs are entitled to discovery on Grande’s DMCA policies and practices pre-
2013 (Interrogatories 6, 25). Grande claims that this information is irrelevant because it predates
the three-year statute of limitations period. But its arguments that the discovery rule cannot apply
are Wrong and certainly are no ground to resist discovery.

Grande cites T[G !ns. Co. v. Ao)i Re, lnc. to argue that Plaintiffs have not pleaded the
discovery rule sufficiently. But Grande’s reliance on that case is misplaced TIG specifically states
that “the discovery rule need not be specifically pleaded in federal couit.” 521 F.3d 351, 357 (5th
Cir. 2008). What is more, in Frame v. Cin o_/`Ar/ing/ori, which post-dates TIG, the Fifth Circuit
made clear that “the statute ol` limitations is an affirmative defense that places the burden of proof
on the party pleading it. Under federal pleading requirements, which we follow, a plaintiff is not
required to allege that his claims were filed within the applicable statute of limitations.” 657 F.3d
215, 239-40 (5th Cir. 2011).

Grande then questions the ongoing validity of the discovery rule in copyright cases. But in
Petrella v. Merro-Goldii/yn-Mayc/'. Ir/c. _ on which Grande relies, the Supreme Court observed that
“nine Courts of Appeals have adopted a discovery rule” and that the “overwhelrning majority”
of courts apply the rule to copyright cases. 134 S. Ct. 1962, 1969 fn.4 (2014). Nowhere in Petrella
did the Court suggest it was undoing this broad consensus. Grande also cites Chicago Bldg.
Design, P. C. v. Mongolian House, Inc., but the couit in that case “express[ed] no opinion on th[e]
question” of “whether Pel/'el/a abrogates the discovery rule in copyright cases.” 770 F.3d 610, 618
(7th Cir. 2014). And courts in i|iis Circuit post-Pe!rella have recognized the discovery rule’s

ongoing vitality. See, e.g., Geophys. Se)“v. [nc. v. C(mocoPhillips Co., No. H-15-2766, 2016 WL

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2839286, *9 (S.D. Tex. May 13, 2016). Here, as Plaintiffs have stated in their answers to Grande’s
interrogatory, Plaintiffs did not learn of`the infringement until January 2016, when Rightscorp first
approached the RIAA (Plaintiffs’ trade association that is coordinating this litigation with
Plaintiffs) with evidence of Grande subscribers’ infringement Pls.’ Resp. to Grande Interrog. 20
[Dkt 107-2]. Plaintiffs’ claims for the entire period of infringement are timely.

Moreover, regardless of the applicable limitations period, Grande’s handling of
infringement both before and after 2013 is relevant. lnformation disclosed in discovery indicates
that Grande terminated repeat infringing customers in 2010 and preceding time periods, but then
changed its policy and stopped terminating repeat infringers from 2011 until June 201 7-when
it resumed doing so after this suit was jiled. The rationale and implementation of Grande’s policy
for handling infringement during these earlier periods, the reasons for the policy changes, and the
comparison of Grande’s earlier policy to its policy from 2011 until this lawsuit, bear on at least
two key issues.

(1) Grande’s knowledge of infringement by its subscribers: Grande claims in this litigation
that the notices it has received from Rightscorp (and others) did not apprise it of actual
infringement, yet during the pre-201 l period (as well as the period from the filing of
this suit to the present), Grande terminated customers for repeat infringement based on
the same knowledge from the same type of notices. Its earlier conduct is probative of
its knowledge ofinfringement by its subscribers

(2) Grande’s attempt to claim the DMCA safe harbor def`ense: Grande’s policy and practice
during the pre-201 1 period (when il terminated repeat infringers) is probative of

whether during the post-201 l period (when it did not), Grande actually had a policy

b.)

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that provided for the termination of repeat infringers in appropriate circumstances, and
was reasonably implemented as the DMCA safe harbor requires. 17 U.S.C. § 512(i).
Grande must answer Interrogatory 14 and provide the contact information for its
DMCA agent. Grande is simply playing games with its refusal to answer this interrogatory,
wrongly claiming that the information is “readily ascertainable” (Opp. at 8) from a jumble of
Copyright Office filings and conflicting Grande documents The company must state the identity
and contact information of the person it registered as its DMCA agent with the Copyright Office,
and the person it listed in its policies over the applicable time period. The evidence indicates_and
Grande apparently admits (Opp. at 8)_that Grande provided conflicting information to the public
and to the Copyright Office as to the identity of that agent. Evidence also suggests that this
discrepancy resulted in some copyright infringement notices to Grande being directed into
nonfunctioning email accounts That bears directly on Grande’s eligibility for the DMCA safe
harbor. See Ellisr)n v. Rol)er/.s'r)n, 357 F.3d 1072, 1080 (9th Cir. 200¢1).l

II. PATRioT SHouLi) BE REQU|RED To MAKE ITs WITNESSES AvAiLABLE FOR
DEPosiTioN.

The parties previously agreed to conduct depositions following the fact discovery cut-off.

Plaintiffs have honored that agreement, by offering depositions of Plaintiffs’ individual and

 

' “There is ample evidence in the record that suggests that AOL did not have an effective
notification procedure in place at the time the alleged infringing activities Were taking place.
Although AOL did notif`y the Copyright Office of its correct e-mail address before Ellison's
attorney attempted to contact AOL and did post its correct e-mail address on the AOL website
with a brief summary of its policy as to repeat infringers, AOL also: (1) changed the e-mail address
to which infringement notificatioiis were supposed to have been sent; and (2) failed to provide for
forwarding of messages sent to the old address or notification that the e-mail address was inactive.
AOL should have closed the old e-mail account or forwarded the e-mails sent to the old account
to the new one. Instead, AOL allowed notices of potential copyright infringement to fall into a
vacuum and to go unheeded; that fact is sufficient for a reasonable jury to conclude that AOL had
not reasonably implemented its policy against repeat iiifringers.” (citation omitted)

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30(b)(6) fact witnesses Oii multiple occasions, the undersigned counsel requested deposition dates
for the Patriot witnesses (in writing, by phone. and in person). For example, during the parties’
June 1, 2018 telephone call, the undersigned counsel asked for dates for the depositions of Patriot
executive Robert Roeder and the Patriot 30(b)(6) witness, and memorialized opposing counsel’s
response: “You indicated on the call you would get back to us for dates for the Patriot 30(b)(6)
and Mr. Roeder.” Ex. A, June 3, 2018 ()’Beirne Einail to Brophy (emphasis added). Grande and
Patriot, however, then reneged on the parties’ agreement, informing Plaintiffs the day before the
end of the discovery period that they would not offer Patriot witnesses for deposition after all.
Plaintiffs immediately served deposition subpoenas for Mr. Roeder as well as a Rule 30(b)(6)
witness (identical in substance to that which Plaintiffs previously had served on Defendants).
Those subpoenas call for the depositions of the Patriot witnesses during a time period when the
parties had agreed to take depositions of Plaintiffs, Grande, and nonparties RlAA and Rightscorp.

Furthermore, Grande and Patriot do not contest that Patriot has plainly relevant
information As Plaintiffs showed in their 1\/10tion for Leave to Amend, the evidence from multiple
Grande witnesses is that Patriot calls the shots when it comes to Grande’s response to infringement
by its customers, and in fact has an ownership interest in Grande. See Pls.’ Mot. for Leave to
Amend [Dkt. 85] and Exhibits thereto. These facts further confirm that Patriot is a proper
defendant, and that Patriot has relevant information about Grande’s policies and practices
regarding infringement Plaintiffs are entitled to deposition testimony of the Patriot witnesses on
this and other key topics.

CONCLUSION
For the foregoing reasons and those set forth in Plaintiffs’ motion to compel, Plaintiffs

respectfully ask that the Court compel the requested relevant discovery from Grande and Patriot.

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July 20, 2018

Respectf`ully submitted,

By: /s/ Philii)./. O`Beirne

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CERTIFICATE OF SERVICE

The undersigned certifies that, on July 20, 2018, all counsel of record who are deemed to
have consented to electronic service are being served with through the Court’s ECF system.

/s/Daniel C. Bitl‘in,g7

Daniel C. Bitting

